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                                                                        FILED: June 9, 2023

                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT

                                    ___________________

                                        No. 23-1384
                                       (CP16-10-000)
                                    ___________________

        APPALACHIAN VOICES; WILD VIRGINIA; WEST VIRGINIA RIVERS
        COALITION; PRESERVE GILES COUNTY; PRESERVE BENT MOUNTAIN,
        a chapter of Blue Ridge Environmental Defense League; WEST VIRGINIA
        HIGHLANDS CONSERVANCY; INDIAN CREEK WATERSHED
        ASSOCIATION; SIERRA CLUB; CHESAPEAKE CLIMATE ACTION
        NETWORK; CENTER FOR BIOLOGICAL DIVERSITY

                    Petitioners

        v.

        UNITED STATES DEPARTMENT OF THE INTERIOR; DEB HAALAND, in
        her official capacity as Secretary of the U.S. Department of the Interior; UNITED
        STATES FISH AND WILDLIFE SERVICE, an agency of the U.S. Department of
        Interior; CINDY SCHULZ, in her official capacity as Field Supervisor, Virginia
        Ecological Services, Responsible Official; MARTHA WILLIAMS, in her official
        capacity as Director of the U.S. Fish and Wildlife Service

                    Respondents

        MOUNTAIN VALLEY PIPELINE, LLC

                    Intervenor

                                    ___________________

                                         ORDER
                                    ___________________

              Upon consideration of petitioners’ unopposed motion to modify deadlines
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        and exceed length limitations, the court suspends petitioners’ deadline for

        responding to the intervenor’s motion to dismiss or for summary denial pending

        further order or notice from the court and defers consideration of petitioners’

        motion to exceed length limitations pending respondents’ filing of their motion.

                                               For the Court--By Direction

                                               /s/ Patricia S. Connor, Clerk
